              Case 8:24-bk-00300-CPM           Doc 14      Filed 01/24/24       Page 1 of 13




                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION
                                    www.flmb.uscourts.gov

In re:                                            Chapter 11, Subchapter V

GNSP CORP d/b/a RX OASIS,                         Case No. 8:24-bk-300-CPM

         Debtor.
                                         /        Emergency Hearing Requested


                          DEBTOR’S EMERGENCY MOTION FOR
                         AUTHORITY TO USE CASH COLLATERAL

                                 STATEMENT OF RELIEF REQUESTED

   The Debtor seeks authority to use cash collateral to fund its operating expenses and the costs of
   administering this Chapter 11 case in accordance with the budget attached to this Motion. The Debtor
   believes that certain lenders, as described below, may assert security interests in cash collateral. As
   adequate protection, the Debtor propose to grant the lenders replacement liens to the same extent,
   validity, and priority as existed as of the Petition Date.


         GNSP CORP, as Debtor and Debtor in possession (collectively, the “Debtor”),

respectfully requests the entry of an order authorizing the use of cash collateral (as defined

below) and, in support thereof, the Debtor respectfully represents as follows:

                                               Jurisdiction

         1.     This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334. The subject matter of this Motion is a core proceeding pursuant to 28 U.S.C. § 157(b).

Venue is proper in this district pursuant to 28 U.S.C. § 1408.

         2.     The statutory predicates for the relief sought herein are §§ 105(a), 361, 363, 541

and 552 of the Bankruptcy Code and Rule 4001 of the Federal Rules of Bankruptcy Procedure.

                                               Background

         3.     On January 22, 2024 (the “Petition Date”), the Debtor filed its Voluntary Petition

for Relief under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”) and
               Case 8:24-bk-00300-CPM        Doc 14    Filed 01/24/24     Page 2 of 13




made an election to proceed under Subchapter V pursuant to the Small Business Reorganization

Act of 2019, as amended.

         4.       The Debtor continues to operate as a debtor-in-possession. For more information

on the Debtor and the reasons for the bankruptcy filing, please see the Debtor’s Chapter 11 Case

Management Summary.

                          Summary of Prepetition Secured Indebtedness

         6.       The Debtor’s primary secured obligations consist of: (a) an Economic Injury

Disaster Loan from the U. S. Small Business Administration (“SBA”) with an approximate

balance of $2 million; and (b) amounts that may be owed from time to time to its main supplier,

McKesson Corporation (“McKesson”), which are secured pursuant to a filed UCC-1 Financing

Statement. McKesson is senior in priority to the SBA, but is not owed any amount as of the

Petition Date.

         7.       The Debtor also has a purchase-money financing loan with Bank of America,

secured by a vehicle, with an approximate balance of $5,955.00. The Debtor does not believe

that Bank of America has an interest in Cash Collateral.

         8.       Each of McKesson and the SBA (collectively, the “Lenders”) may assert an

interest in Cash Collateral, as that term is defined in Section 363(a) of the Bankruptcy Code (the

“Cash Collateral”).

         9.       As of the Petition Date, the Debtor had cash of approximately $374,000.00.

                             Relief Requested and Grounds for Relief

         10.      The Debtor intends to use Cash Collateral to pay operating expenses and the costs

of administering this Chapter 11 case. Accordingly, the Debtor requests authority to use Cash

Collateral pursuant to Section 363(c) of the Bankruptcy Code.



                                                  2
4877-3141-0846, v. 1
               Case 8:24-bk-00300-CPM            Doc 14   Filed 01/24/24    Page 3 of 13




         11.      The Debtor respectfully requests the entry of an interim order in the form attached

hereto as Exhibit A authorizing the use of Cash Collateral, in accordance with the budget for the

period from January 22, 2024 through and including February 16, 2024 attached hereto as

Exhibit B, to fund its operating expenses and the costs of administering this Chapter 11 case to

avoid immediate and irreparable harm to the estate pending a final hearing and the entry of a

final order. Specifically, the Debtor intends to use Cash Collateral for:

                  a.     payroll;

                  b.     insurance;

                  c.     rent;

                  d.     purchase of necessary inventory;

                  e.     payment of utilities;

                  f.     other payments necessary to sustain continued business operations;

                  g.     care, maintenance, and preservation of the Debtor’s assets; and

                  h.     costs of administration in this Chapter 11 case.

Except as specifically authorized by law or court order, the Debtor will not use Cash Collateral

to pay pre-petition obligations.

         12.      The Debtor requests authorization to use Cash Collateral immediately to fund

operating expenses necessary to continue the operation of its business, to maintain the estate, to

maximize the return on its assets, and to otherwise avoid irreparable harm and injury to its

business and the estate.

         13.      The Debtor further requests that any order authorizing the use of Cash Collateral

require account debtors to pay the Debtor directly on any accounts receivable.




                                                    3
4877-3141-0846, v. 1
               Case 8:24-bk-00300-CPM         Doc 14    Filed 01/24/24     Page 4 of 13




         14.      There is insufficient time for a full hearing pursuant to Rule 4001(b)(2) of the

Federal Rules of Bankruptcy Procedure to be held before the Debtor must use Cash Collateral. If

this Motion is not considered on an expedited basis and if the Debtor is denied the ability to

immediately use Cash Collateral, there will be a direct and immediate material and adverse

impact on the continuing operations of the Debtor’s business and on the value of its assets. To

continue the business activities in an effort to achieve a successful reorganization, the Debtor

must use Cash Collateral in the ordinary course of business. The inability of the Debtor to meet

its ordinary business expenses will require the Debtor to discontinue normal operations, which

will result in irreparable injury to the Debtor and its chances for reorganization. Any such

discontinuation would also materially and adversely impact the value of the Lenders’ collateral.

Indeed, it is in the best interest of the Lenders that the Debtor use Cash Collateral, if such usage

will preserve the value of the collateral.

         15.      “Cash Collateral” is defined as “cash, negotiable instruments, documents of title,

securities, deposit accounts or other cash equivalents in which the estate and an entity other than

the estate have an interest.” 11 U.S.C. § 363(a). Pursuant to section 363(c)(2) of the Bankruptcy

Code, the Court may authorize the Debtor to use Cash Collateral so long as the applicable

secured creditors consent or are adequately protected. See, e.g., In re Mellor, 734 F.2d 1396,

1400 (9th Cir. 1984); see also In re McCormick, 354 B.R. 246, 251 (Bankr. C.D. Ill. 2006) (to

use the cash collateral of a secured creditor, the debtor must have the consent of the secured

creditor or must establish to the court that the secured creditor’s interest in the cash collateral is

adequately protected).

         16.      In exchange for the Debtor’s ability to use Cash Collateral in the operation of its

business, the Debtor proposes to grant to each of the Lenders, as adequate protection, a



                                                   4
4877-3141-0846, v. 1
               Case 8:24-bk-00300-CPM        Doc 14     Filed 01/24/24      Page 5 of 13




replacement lien to the same extent, validity, and priority as existed on the Petition Date. In

other words, the Debtor proposes that the Lenders’ “floating” lien on such assets continue to

“float” to the same extent, validity, and priority as existed on the Petition Date, notwithstanding

Section 552 of the Bankruptcy Code. The Debtor asserts that the interests of the Lenders will be

adequately protected by the replacement liens.

         17.      If allowed to use Cash Collateral, the Debtor believes that it can stabilize its

business operations and maintain going concern value.            Otherwise, the Debtor’s business

operations will cease and the assets will have only liquidation value.

         18.      The Motion is without prejudice to the rights of the Debtor or any other party to

contest the extent, validity and/or priority of the Lenders’ asserted liens or interests.

         WHEREFORE, the Debtor respectfully requests that this Court: (1) enter an interim order

granting this Motion and authorizing the interim use of Cash Collateral; (2) schedule a

preliminary hearing on this Motion on or before January 26, 2024; (3) schedule a final cash

collateral hearing in accordance with Bankruptcy Rule 4001(b)(2); and (4) providing for such

other and further relief as may be just and proper.


                                               /s/ Amy Denton Mayer
                                               Amy Denton Mayer (FBN 0634506)
                                               Stichter Riedel Blain & Postler, P.A.
                                               110 East Madison Street, Suite 200
                                               Tampa, Florida 33602
                                               Telephone: (813) 229-0144
                                               Email: amayer@srbp.com
                                               Attorneys for Debtor




                                                   5
4877-3141-0846, v. 1
              Case 8:24-bk-00300-CPM    Doc 14    Filed 01/24/24    Page 6 of 13




                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing Debtor’s Emergency

Motion for Authority to Use Cash Collateral has been furnished on this 24th day of January,

2024, by either the Court’s CM/ECF system or U.S. mail to the 20 Largest Unsecured Creditors

and by either U.S. mail or email to:

U.S. Small Business Administration
51 SW 1st Avenue, Suite 201                      Attorney General of the United States
Miami, FL 33130                                  950 Pennsylvania Ave., N.W.
Email: bankruptcynotices@sba.gov                 Washington, DC 20530-0001

U.S. Small Business Administration               United States Attorney
EIDL                                             Attn: Civil Process Clerk
2 North St., #320                                400 N. Tampa St., #3200
Birmingham AL 35203                              Tampa, FL 33602

U.S. Small Business Administration               McKesson Corporation
CESC                                             Attn: Benjamin Hill, Esquire
14925 Kingsport Rd.                              benjamin.hill@mckesson.com
Fort Worth, TX 76155


                                          /s/ Amy Denton Mayer
                                          Amy Denton Mayer




                                             6
4877-3141-0846, v. 1
                      Case 8:24-bk-00300-CPM     Doc 14       Filed 01/24/24   Page 7 of 13


Altium Healthcare                   Amazon
600 Vista Drive                     410 Terry Ave N                            B&B Cash Grocery Stores
Sparta, TN 38583                    Seattle, WA 98109                          927 US 301
                                                                               Tampa, FL 33619



Bank of America                       BWD                                      Dex Imaging
P.O. Box 15019                        13422 Wyandotte St.                      5109 W. Lemon St., #B
Wilmington, DE 19850-5019             North Hollywood, CA 91605                Tampa, FL 33609



FDS INC                               Florida Department of Revenue            Gerimed
590 E. Middlefield Road               5050 W. Tennessee St.                    9707 Shelbyville Rd.
Mountain View, CA 94043               Tallahassee, FL 32399                    Louisville, KY 40223



HCC Pharmacy Staffing                 Heartland Payment Systems                IPC
165 Sabal Palm Dr., #151              1 Heartland Way                          1550 Columbus St
Longwood, FL 32779                    Jefferson, IN 47130                      Sun Prairie, WI 53590


Kamal Patel and Shilpa Patel
c/o Jason Sampson, Esq.               Managed Health Care                      Microsoft
Venerable Law                         2300 E 3rd Loop, #200                    One Microsoft Way
301 W. Platt St., #657                Vancouver, WA 98661                      Redmond, WA 98052
Tampa, FL 33606


Omnicell                              Paycor                                   Pharmacist Mutual
500 Cranberry Woods                   4811 Montgomery Rd                       808 US Hwy 18 West
Cranberry Twp, PA 16066               Cincinnati, OH 45212                     Algona, IA 50511



Pioneer RX                            Prescribe Wellness
600 Las Colinas Blvd. E., #2200       9701 Jeronimo Rd #300
Irving, TX 75039                      Irvine, CA 92618
Case 8:24-bk-00300-CPM   Doc 14   Filed 01/24/24   Page 8 of 13




                     EXHIBIT A
              Case 8:24-bk-00300-CPM                Doc 14      Filed 01/24/24        Page 9 of 13




                                UNITED STATES BANKRUPTCY COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION
                                        www.flmb.uscourts.gov

In re:                                                Chapter 11, Subchapter V

GNSP CORP d/b/a RX OASIS,                             Case No. 8:24-bk-300-CPM

          Debtor.
                                                      /

              ORDER GRANTING DEBTOR’S EMERGENCY MOTION FOR
            AUTHORITY TO USE CASH COLLATERAL ON AN INTERIM BASIS

          THIS CASE came before the Court for hearing on ______________, 2024, at

___________ .m. (the “Hearing”) for consideration of the Debtor’s Emergency Motion for

Authority to Use Cash Collateral (Doc. No. ***) (the “Motion”)1. The Motion seeks the entry of

interim and final orders authorizing the Debtor to use “Cash Collateral” as defined in Section

363(a) of the Bankruptcy Code.

          The Court finds that, under the circumstances, due and sufficient notice of the Motion and

the Hearing was provided to: (i) the Office of the United States Trustee for the Middle District of

Florida, (ii) the SBA, (iii) McKesson, (iv) all known secured creditors of the Debtor with an

interest in cash collateral, and (v) the twenty (20) largest unsecured creditors of the Debtor, and

that no other or further notice is necessary. The Court considered the Motion, together with the


1   Unless otherwise defined herein, capitalized terms shall have the same meaning ascribed to them in the Motion.
              Case 8:24-bk-00300-CPM         Doc 14    Filed 01/24/24     Page 10 of 13




record and the argument of counsel at the Hearing, and it appearing that the use of Cash Collateral

to the extent provided herein is necessary on an interim basis in order to avoid irreparable harm to

the Debtor, and for the reasons announced on the record at the Hearing which shall constitute the

decision of the Court, it is

         ORDERED:

         1.       Notice. Notice of the Motion and the Hearing was adequate and appropriate in the

current circumstances of this Chapter 11 case as contemplated by 11 U.S.C. §102(a) and Fed. R.

Bankr. P. 4001(b)(2).

         2.       Interim Approval. The Motion is granted on an interim basis pending a further

hearing to be conducted by the Court on ______________, 2024, at ___________ .m.

         3.       Cash Collateral Authorization. Subject to the provisions of this Order, the Debtor

is authorized to use Cash Collateral to pay: (a) amounts expressly authorized by this Court,

including any required monthly payments to the Subchapter V Trustee; (b) the current and

necessary expenses set forth in the budget attached hereto as Exhibit A, plus an amount not to

exceed ten (10) percent for each line item; and (c) such additional amounts as may be expressly

approved in writing by the Lenders. This authorization will continue until further order of the

Court. Except as authorized in this Order, the Debtor is prohibited from use of Cash Collateral.

However, expenditures in excess of the line items in the budget or not on the budget will not be

deemed to be unauthorized use of Cash Collateral, unless the recipient cannot establish that the

expense would be entitled to administrative expense priority if the recipient had extended credit

for the expenditure. Expenditures in excess of the line items in the budget or not on the budget

may, nonetheless, give rise to remedies in favor of a lender.




                                                  2
4873-4553-4878, v. 1
              Case 8:24-bk-00300-CPM              Doc 14      Filed 01/24/24         Page 11 of 13




         4.       Debtor Obligations. The Debtor shall timely perform all obligations of a debtor in

possession required by the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, and the

orders of this Court.

         5.       Access to Records and Premises. Upon reasonable notice, and provided that it does

not unreasonably interfere with the business of the Debtor, the Debtor shall grant to the Lenders

access to the Debtor’s business records and premises for inspection.

         6.       Replacement Lien. Each creditor with a security interest in Cash Collateral shall

have a perfected post-petition lien against Cash Collateral to the same extent and with the same

validity and priority as the prepetition lien, without the need to file or execute any document as

may otherwise be required under applicable non bankruptcy law.

         7.       Insurance. The Debtor shall maintain insurance coverage for its property in

accordance with the obligations under applicable loan and security documents with the SBA.

         8.       Without Prejudice. This Order is without prejudice to (a) any subsequent request

by a party in interest for modified adequate protection or restrictions on use of Cash Collateral;

and (b) any other right or remedy which may be available to any Lender.

         9.       Enforcement. The Court shall retain jurisdiction to enforce the terms of this Order.

         10.      No Determination. This Order is not and shall not be construed as determinative

as to whether any creditor has a valid lien on or interest in any property of the Debtor or the estate.

This Order is not and shall not be construed as determinative as to the extent or amount of any

secured claim associated with any such lien.


Attorney Amy Denton Mayer is directed to serve a copy of this order on interested parties who do not receive service
by CM/ECF and file a proof of service within 3 days of entry of the order




                                                         3
4873-4553-4878, v. 1
Case 8:24-bk-00300-CPM    Doc 14   Filed 01/24/24   Page 12 of 13




                         EXHIBIT B
                Case 8:24-bk-00300-CPM       Doc 14        Filed 01/24/24   Page 13 of 13


                                       GNSP Corp
                                        Case No.
                                  Cash Collateral Budget



                              January 22 - February 16
Beginning Cash                $               374,424

Revenues                      $               193,484

Cost of Goods Sold            $               145,366

Operating Expenses
Payroll                       $              38,000.00
Rent                          $               2,700.00
Delivery Car Payment          $                 294.00
Credit Card Fees              $                 800.00
Pharmacy Supplies             $                 400.00
Technology Expense            $                   8.00
Delivery Expense              $                 240.00
Office Supplies               $                 100.00
Professional Fees             $               1,000.00
Bank & Payroll Fees           $                 420.00
 Total Operating Expenses     $              43,962.00



Net Cash Flow                 $               4,156.32

Ending Cash                   $               378,580
